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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF $-ALTFORNIA }
January 2019 Grand Jury
UNITED STATES OF AMERICA, Case No. 19 GR 4.08 6 GPC
Plaintiff, INPICTMENT 4
v. ritle 21, U.S.C., Secs. 952 _
and 960 - Importation of
MICHELLE DE LA ROSA, Fentanyl and Methamphetamine
Defendant.
The grand jury charges:
Count 1
On or about becember 4, 2018, within the Southern District of
California, defendant MICHELLE DE LA ROSA did knowingly and

intentionally import a mixture and substance containing a detectable
amount of N-phenyl-N-[1~(2-phenylethyl) -4-piperidinyl] propanamide
(commonly known as fentanyl), a Schedule II Controlled Substance, into
the United States from a place outside thereof; in violation of Title 21,
United States Code, Sections 952 and 960.

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OYJ:cms (nlv)}:Imperial:10/8/19

 
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Count 2

On or about December 17, 2018, within the Southern District of

California, defendant MICHELLE DE LA ROSA did knowingly and

intentionaily import 500 grams and more, to wit: approximately

31

.82 kilograms (70.15 pounds) of a mixture and substance containing a

detectable amount of methamphetamine, a Schedule If Controlled

Substance, into the United States from a place outside thereof; in

violation of Title 21, United States Code, Sections 952 and 960.

DATED: Cctober 9, 2019.

A TRUE BILL:
wv :

 
   
   

Foreperso

ROBERT S. BREWER, JR.
United States Attorney

By:

 

OLEKSANDRA Y¥. JOHNSON
Assistant U.S. Attorney

 
 

 
